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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 16-20893-Cr-Moreno(s)

   UNITED STATES OF AMERICA

   vs.

   MONTY RAY GROW,

               Defendant.
   __________________________________ /

                          UNITED STATES= MOTION FOR ENTRY OF A
                           PRELIMINARY ORDER OF FORFEITURE

          THE UNITED STATES OF AMERICA (hereinafter, the “United States@ or the

   “Government”), hereby moves, pursuant to Fed. R. Crim. P. 32.2(b)(1)(A), for entry of a

   preliminary order of forfeiture regarding certain property that was found to be subject to criminal

   forfeiture to the United States, and submits the following in support thereof.

          1.      On August 29, 2017, a federal grand jury sitting in the Southern District of Florida

   returned a superseding true bill of indictment (ECF 37) (hereinafter, the “Superseding

   Indictment”) charging the defendant, MONTY RAY GROW, with, among other things, a

   violation of 18 U.S.C. § 1349 (Conspiracy to Commit Health Care Fraud/Wire Fraud) (Count 1),

   a violation of 18 U.S.C. § 371 (Conspiracy to Receive/Pay Health Care Kickbacks) (Count 9),

   and a violation of 18 U.S.C. § 1957 (Money Laundering)(Count 45).

          2.      The Forfeiture section of the Superseding Indictment further alleges, among other

   things, that certain property is subject to criminal forfeiture to the United States upon the

   defendant’s conviction of the charged offenses. Specifically, the defendant was notified that upon

   conviction of a “Federal health care offense,” as defined by 18 U.S.C. § 24, which includes the

   violations charged in Counts 1 and 9, he shall forfeit to the United States, pursuant to 18 U.S.C.
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   § 982(a)(7), any property, real or personal, that constitutes, or is derived, directly or indirectly,

   from gross proceeds traceable to the commission of such offense. Additionally, the defendant was

   made aware that upon conviction of a violation of 18 U.S.C. § 1957, which includes the violation

   charged in Count 45, he shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(1), any

   property, real or personal, involved in such violation, or any property traceable to such property.

          3.      On February 5, 2018, the petit jury empaneled returned its Verdict Form (ECF

   115) finding the defendant guilty of the violations charged in Counts 1, 9, and 45, among other

   charged violations. Subsequently, the petit jury returned its Special Verdict (ECF 118) finding in

   effect the following:

                  (a)      Money or funds in account number 898067684176 held at Bank of

          America, N.A. in the name of MGTEN Marketing Group, up to $988,834.00 (US),

          constitutes, or is derived, directly or indirectly, from gross proceeds traceable to the health

          care offenses charged in Counts 1 and 9;

                  (b)      Money or funds in account number 229019916597 held at Bank of

          America, N.A. in the name of Monty Grow, up to $1,680,922.00 (US), constitutes, or is

          derived, directly or indirectly, from gross proceeds traceable to the health care offenses

          charged in Counts 1 and 9; and

                  (c)      One (1) 2014 Porsche/911 (VIN: WP0AB2A92ES120563) is property that

          was involved in the money laundering offense charged in Count 45, or is traceable to such

          property

   (hereinafter, the “Subject Property”).




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           4.       Fed. R. Crim. P. 32.2(b)(1)(A)-(B) provides the following:

                    As soon as practical after a verdict or finding of guilty, or after a
                    plea of guilty or nolo contendere is accepted, on any count in an
                    indictment or information regarding which criminal forfeiture is
                    sought, the court must determine what property is subject to
                    forfeiture under the applicable statute. If the government seeks
                    forfeiture of specific property, the court must determine whether
                    the government has established the requisite nexus between the
                    property and the offense.      If the government seeks a personal
                    money judgment, the court must determine the amount of money
                    that the defendant will be ordered to pay -- [t]he court=s
                    determination may be based on evidence already in the record,
                    including any written plea agreement, and on any additional
                    evidence or information submitted by the parties and accepted by
                    the Court as relevant and reliable.

           5.       Fed. R. Crim. P. 32.2(b)(2) provides that if the Court finds that property is subject

   to forfeiture:

                    [The Court] must promptly enter a preliminary order of forfeiture
                    setting forth the amount of any money judgment, directing the
                    forfeiture of specific property, and directing the forfeiture of any
                    substitute property if the government has met the statutory criteria.
                    The court must enter the order without regard to any third party=s
                    interest in the property. Determining whether a third party has such
                    an interest must be deferred until any third party files a claim in an
                    ancillary proceeding under Rule 32.2(c).

           6.       Fed. R. Crim. P. 32.2(b)(3) provides, in pertinent part, that the entry of a

   preliminary order of forfeiture:

                    Authorizes the Attorney General (or a designee) to seize the specific
                    property subject to forfeiture; to conduct any discovery the court
                    considers proper in identifying, locating, or disposing of the
                    property; and to commence proceedings that comply with any
                    statutes governing third-party rights. The court may include in the
                    order of forfeiture conditions reasonably necessary to preserve the
                    property=s value pending any appeal.


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           7.      Fed. R. Crim. P.(b)(4)(A)-(B) of the Federal Rules of Criminal Procedure provides

   that:

                   At sentencing B or at any time before sentencing if the defendant
                   consents B the preliminary forfeiture order becomes final as to the
                   defendant. If the order directs the defendant to forfeit specific
                   property, it remains preliminary as to third parties until the ancillary
                   proceeding is concluded under Rule 32.2(c) . . . [t]he court must
                   include the forfeiture when orally announcing the sentence or must
                   otherwise ensure that the defendant knows of the forfeiture at
                   sentencing. The court must also include the forfeiture order,
                   directly or by reference, in the judgment, but the court=s failure to
                   do so may be corrected at any time under Rule 36.

           8.      Therefore, as a result of the petit jury finding the defendant guilty of the violations

   charged in Counts 1, 9, and 45 of the Superseding Indictment, and the petit jury subsequently

   finding the requisite nexus between the violations and the Subject Property, the United States has

   established that the Subject Property must be forfeited pursuant to 18 U.S.C. §§ 982(a)(1) and

   (7).

           9.      In accordance with Fed. R. Crim. P. 32.2(b)(2), and the applicable provisions of

   21 U.S.C. § 853, the form of the proposed Preliminary Order of Forfeiture submitted herewith

   provides for the criminal forfeiture of the Subject Property to the United States, for the inclusion

   of the resulting Preliminary Order of Forfeiture as part of the defendant=s sentence and the

   Judgment in the Criminal Case, for publication of the resulting Preliminary Order of Forfeiture,

   for the institution of discovery by the Government in order to locate the Subject Property, if

   necessary, or to expedite ancillary proceedings for the adjudication of third party petitions

   claiming an interest in the Subject Property, if any, and for the final forfeiture of the Subject

   Property, if no petitions are filed.


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          WHEREFORE, based upon the forgoing, and the other matters of record in these

   proceedings, the Government moves for the entry of its proposed Preliminary Order of Forfeiture

   pursuant to Fed. R. Crim. P. Rule 32.2(b)(2), which forfeits the Subject Property to the United

   States pursuant to 18 U.S.C. §§ 982(a)(1) and (7) and provides for further proceedings as may be

   necessary to effect entry of a final order of forfeiture in accordance with the procedures set forth

   at 21 U.S.C. § 853 and Fed. R. Crim. P. 32.2.

                                                 Respectfully submitted,

                                                 RANDY A. HUMMEL
                                                 ATTORNEY FOR THE UNITED STATES
                                                 AUTHORITY CONFERRED BY 28 U.S.C. § 515


                                         By:     s/Daren Grove
                                                 _____________________________________
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 16, 2018, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF.


                                            s/Daren Grove

                                            Daren Grove
                                            Assistant United States Attorney




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